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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA, et al.,

                  Plaintiffs,                    Civil Action No. 2:24-cv-04055 (JXN-LDW)

         vs.

 APPLE INC.,

                  Defendant.



                 REQUEST BY LOCAL COUNSEL FOR PRO HAC VICE
               ATTORNEY TO RECEIVE ELECTRONIC NOTIFICATIONS
       Request is hereby made by local counsel for pro hac vice counsel, Laura E. McFarlane, to
receive electronic notifications in the within matter, and it is represented that:
       1. An Order of the Court granting a motion for Laura E. McFarlane to appear pro hac
          vice in the within matter was entered on June 5, 2024; and

       2. The Admission Fee, in the amount of $250.00, pursuant to L. Civ. R. 101.1(c)(3), has
          been paid to the Clerk of the Court.


Dated: June 6, 2024                                MATTHEW J. PLATKIN
                                                   Attorney General of New Jersey

                                                   By: /s/Andrew F. Esoldi
                                                   Andrew F. Esoldi
                                                   Deputy Attorney General
                                                   Consumer Fraud Prosecution Section
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